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13                         UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
15
16   IVANKHOVA ZAMUDIO,                      ) No. 2:20-cv-01330-PD
                                             )
17                                           )
           Plaintiff,                        )
18                                           ) JUDGMENT OF REMAND
                  v.                         )
19                                           )
     KILOLO KIJAKAZI,                        )
20   Acting Commissioner of Social           )
                                             )
21   Security,                               )
                                             )
22                                           )
           Defendant.                        )
23
24
25         The Court having approved the parties’ Stipulation to Voluntary Remand
26   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
27   (“Stipulation”) lodged concurrent with the lodging of the within Judgment of
28
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 1   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
 2   above-captioned action is remanded to the Commissioner of Social Security for
 3   further proceedings consistent with the Stipulation to Remand.
 4
 5   DATED: October 27, 2021
 6                                         HON. PATRICIA DONAHUE
                                           UNITED STATES MAGISTRATE JUDGE
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